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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 MEAGHAN KING,
                               Plaintiff,
                                                                   21-CV-1752 (JPO)
                     -v-
                                                                           ORDER
 OGURY, INC., et al.,
                               Defendants.


J. PAUL OETKEN, District Judge:

       For the reasons stated on the record at the March 22, 2022 conference, Defendants’

motion to compel arbitration is granted. The case is administratively closed without prejudice to

reopening within thirty days after the issuance of an arbitration award.

       The Clerk of Court is directed to close the motion at Docket Number 11 and to mark this

case as closed.

       SO ORDERED.

Dated: March 22, 2022
       New York, New York

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                                                         J. PAUL OETKEN
                                                     United States District Judge
